                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

LIZELLE GONZALEZ                                       §
                                                       §
Plaintiff                                              §
                                                       §
Vs.                                                    §       CIVIL ACTION 7:24-CV-00132
                                                       §
GOCHA ALLEN RAMIREZ, et al.                            §
                                                       §
Defendant                                              §

                    DEFENDANTS’ OPPOSED MOTION
                       TO FILE SEALED EXHIBITS
  =================================================================

MAY IT PLEASE THE COURT:
       NOW COMES DEFENDANTS, GOCHA ALLEN RAMIREZ, ALEXANDRIA
BARERRA and STARR COUNTY, TEXAS and file this Unopposed Motion to File Sealed
Exhibits. This Motion for File Sealed Exhibits is being filed pursuant to the Court Procedures
Local Rules for cases assigned to Judge Drew B. Tipton.
       As specified in L.R. 10 – Protective Orders and Filings Under Seal, DEFENDANTS have
will file under seal a set of Exhibits that come out of a protected investigative file generated by the
Starr County Sheriff’s Office. It is not possible to redact the documents, therefore under L.R. 10.b,
DEFENDANTS will establish cause why redaction is not possible.
       Contemporaneously with the filing of this Motion to File Sealed Exhibits, DEFENDANTS
are separately filing a Rule 12 Motion to Dismiss and Assertion of Prosecutorial Immunity on
behalf of DEFENDANTS RAMIREZ and BARRERA. DEFENDANTS would ordinarily file the
subject exhibits as public exhibits to their Rule 12 Motion; however, given the circumstances of
the case, it is not possible to place these exhibits into the public realm, even if they were redacted.
       Plaintiff’s live complaint make claims and accusation against DEFENDANTS of a highly
personal and scandalous nature. It makes references to collusion between the Starr County
Sheriff’s Office and the Office of the District Attorney for the 229th Judicial District, which are
have no support in the underlying investigative record. The allegations, especially those that are




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conclusory and argumentative, deserve to be rebutted under the authority of Sligh v City of Conroe,
87 F.4th 290 (2023).
        However, the documents come out of an Investigative File which was prepared by the Starr
County Sheriff’s Office (SCSO), which file was tendered to the District Attorney’s Office for the
229th Judicial District (sitting in Starr County) for presentation to the Starr County Grand Jury.
The documents filed under seal are those that most directly rebut and contradict factual averments
and conclusory statements being urged in the Plaintiff’s Amended Complaint against the
prosecution DEFENDANTS. They consist of a package of seven documents, which will be
identified only as “Sealed Document #1 through Sealed Document #7.
        These document have not been released into the public realm (at least should not have been
released into the public realm) yet they are material to the factual claims being made against
DEFNDANTS RAMIREZ and BARRERA. Moreover, the Office of the Attorney General had
previously granted a withholding request to the District Attorney in response to a Public
Information Act request for the contents of this file. A copy of the OAG’s ruling in response to his
withholding request is attached as an open exhibit to this Motion. See Exhibit A – OAG Ruling on
Withholding Request.
        Given this circumstances, DEFENDANTS contend that there exists good cause to submit
these documents under seal and that in the interests of justice the utilization of the Court’s authority
to consider the documents in question under seal provides the appropriate balancing of interests to
allow the Court to review the documents containing material and relevant information without
compromising the integrity of the Grand Jury secrecy, the law enforcement investigative process,
or exposing highly personal and private medical information pertaining to not only the Plaintiff
in this case, but to all the health care providers who provided medical assistance at the hospital.
        Moreover DEFENDANTS would not be opposed to allowing Plaintiff’s Counsel with a
copy of the Sealed Documents provided that this be done under a Protective Order of the Court
setting guidelines for who can review the sealed documents and under what circumstances. This
too would serve the interests of justice since it is possible that Plaintiffs – who likely have not seen
any of the SCSO investigative file - may reconsider the factual accuracy of their pleadings if they
were to have the benefit of the key and critical documents filed under seal.




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                             CERTIFICATE OF CONFERENCE
       Undersigned Counsel have conferred with opposing counsel about this Motion to Seal and
for Protective Order and Opposing Counsel advise that they are opposed to the foregoing motion
absent entry of a protective order form the Court that provides access to the documents to be filed
under seal. A rough draft of a Proposed Agreed Order is provided.
                                        CONCLUSION
       Therefore, DEFENDANTS RAMIREZ and BARRERA respectfully request that the Court
find good cause for submission of the aforementioned documents submitted under Seal and also
enter an protective order to protect the integrity of the documents submitted under Seal.
       SIGNED on the 1st day of MAY 2024.

                                             Respectfully submitted,

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                                             ATTORNEYS FOR DEFENDANT
                                             GOCHA ALLEN RAMIREZ, et al.


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                                CERTIFICATE OF SERVICE

        I certify that a true copy of this document has been served in accordance with one or more
of the authorized methods for service of process contained in the Federal Rules of Civil Procedure
on the persons or parties identified below on this the 1ST day of MAY APRIL 2024.

       Ida Cecilia Garza                                           Via E-Filing Notification
       Veronica Sepulveda Martinez                                 Via E-Filing Notification
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